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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                         Case No. 15-cr-00579-VC-17
                 Plaintiff,
                                                    ORDER GRANTING MOTION FOR
          v.                                        COMPASSIONATE RELEASE
  CAMACHO TOLEDO,                                   Re: Dkt. No. 782
                 Defendant.



        The motion for compassionate release is granted. Given that he will be immediately

removed from the country and that his family will be joining him in Mexico, Camacho Toledo is

not likely to be a danger to the community. Furthermore, considering all of the section 3553(a)

factors and, as was discussed in the hearings and the briefs, the extraordinary circumstances of

the COVID-19 pandemic and Camacho Toledo’s health condition, release is warranted in this

case.
        The Court therefore orders that Camacho Toledo’s sentence is modified to time served,

subject to the condition that he stipulate to his immediate removal and waive his right to

challenge his removal. All conditions of supervised release remain the same. The government is

entrusted with identifying the best time and manner for Camacho Toledo to be quarantined

before being released and removed.

        IT IS SO ORDERED.

Dated: November 3, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
